 1

 2   Peter Szanto 949-887-2369
     11 Shore Pine
 3   Newport Beach CA 92657
 4

 5                     U.S. Bankruptcy Court
 6                                         District of oregon
                                 1050 SW 6th Ave #700 Portland, OR 97204 (503) 326-1500

 7

 8       In Re Peter Szanto,                                        # 16 –bk-33185 pcm7
 9           Involuntary Debtor

10                                                                       Response Brief
11       HEARING REQUESTED                                                   Claims 8-13
12

13
                                               1. The Order
14

15
              This court has ordered briefing (DE 877, p. 3:6-22):
16

17

18
            (A)     Whether any remaining claims for WUCP and IIED are
                    personal injury tort claims within the meaning of 28
19                  U.S.C. § 157(b) and whether personal injury tort
                    claims must be immediately transferred to the United
20                  States District Court for the District of Oregon or
                    whether this Court has the authority to retain the
21                  matter up to and including the lodging of a final
                    pretrial order or to issue proposed findings of fact
22                  and conclusions of law.
            (B)     Whether Oregon law allows a claim for IIED based on
23                  the use of court process.
24

25                 ‘2. Mr. Henderson’s Attempted End Run Around Law
26

27            As will be fully discussed shortly, one factor to determine whether
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 2
     a case is within the core Bankruptcy proceeding jurisdiction of this court
 3   is whether the personal injuries stand alone. To “stack the deck” in his
 4   favor on this issue, Mr. Henderson included an economic injury component
 5   to his amended claims in the form of the attorney fees that were already
 6   previously requested by motions, which had been fully briefed and could
 7   not be any part of a new trial.
 8

 9                 Now that the costs and fees motions have been decided, all that

10   remain are solely emotional distress claims based on wrongful use of civil

11
     process claims. (see claims 8-13)

12
                   There is no independent cause of action in Oregon for Intentional
13
     Infliction of Emotional Distress. Therefore, the only matter at issue now is
14
     whether this court has the authority to hear a new proceeding under ORS
15
     31.230.
16

17

18
                      ‘3. Oregon’s Wrongful Use of Civil Proceeding Law
19

20
                      ‘a. Underlying Proceeding Has NOT CONCLUDED!!
21

22             To be extremely specific, ORS 31.230, the wrongful use of civil
23   proceeding law states very explicitly, that neither jurisdiction nor ripeness
24   exist for that cause of action until, (see ORS 31.230(3)):
25
                     A claim for damages for wrongful use of a civil proceeding shall be brought in an
26
                     original action after   the proceeding which is the subject matter of the
27
                     claim is concluded.
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 2
              Regardless of the metric: a) conclusion of Bankruptcy proceeding
 3   16-33185 or b) conclusion of adversarial proceeding 16-3114; neither of
 4   those cases has concluded. Claims 8-13 are opposed on various grounds
 5   see (DE 941-DE 950). A bar to conclusion is also the fact that the District
 6   Court has yet to act regarding any 28 USC § 157(c) “final judgment.”
 7

 8            Additionally, the statute is vague and ambiguous about conclusion:
 9   does it mean after the conclusion of the trial court case or does it mean

10   after the conclusion of all appeals?

11
              On a multitude of issues, therefore, under no circumstances is
12
     any conclusion -- by any measure yet of record, as to the adversarial
13
     proceeding or the Bankruptcy in this court which are the underlying cases
14
     which claim IIED money regarding wrongful use of civil process.
15

16

17     ‘b. Wrongful Use of Civil Proceeding Law Must Be Original Action
18

19                 ORS 31.230, the wrongful use of civil proceeding law states very
20   specifically that jurisdiction and ripeness for such an action exist only as

21   an original action, (see ORS 31.230(3)):

22
                     A claim for damages for wrongful use of a civil
23
                     proceeding shall be brought in an original action after the
24
                     proceeding which is the subject matter of the claim is concluded.
25

26
                   The mandate of an original action means that Peter Szanto, as a
27

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 2
     non-Bankruptcy court defendant will be able to seek legal representation
 3   so as to protect his rights; a right which has been consistently denied
 4   to him by the Bankruptcy court (whether this is measured by Judge
 5   McKittrick’s refusal to extend time for Peter Szanto to find counsel OR
 6   denial of venue change to employ California counsel who was prepared to
 7   work without compensation OR knowing denial of Peter Szanto’s ability to
 8   secure counsel by failing to release estate assets for that purpose, Peter
 9   Szanto’s fundamental right to legal representation has very clearly

10   been reprehensibly, knowingly and brutally abrogated in this case).

11
                   Peter Szanto’s ability to be represented by counsel during the
12
     present Covid crisis during which Peter Szanto’s already cancer-sapped
13
     strength, is further depleted by exhaustive precautions to avoid the virus
14
     (IE, Peter Szanto still has chemotherapy 3 times a week, but the current
15
     health precautions make this an extremely time consuming process). All of
16
     Peter Szanto’s health problems constrain his ability to work on tasks in this
17
     matter or to prepare for trial herein. And so, Peter Szanto is desperate for
18
     legal assistance which he can obtain in a case where defense attorney
19
     fees are guaranteed by the fees reciprocity clause under ORS 31.230.
20

21

22
           4. Decision Regarding Personal Injury is for the District Court

23
               Because, as always, Peter Szanto is transparent and co-operative
24
     he will address the requests of the ORDER momentarily.
25

26
               However, to protect his rights from waiver, Peter Szanto must
27
     point out that determination of whether a matter is personal injury is not
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 2
     within the jurisdiction of the Bankruptcy court.
 3

 4                 11 USC § 157(b)(3) states: “The bankruptcy judge shall
 5   determine, on the judge’s own motion or on timely motion of a party,
 6   whether a proceeding is a core proceeding under this subsection or is a
 7   proceeding that is otherwise related to a case under title 11.”
 8

 9                 The (DE 877) ORDER has not asked whether Mr. Henderson’s

10   claims are core or not, but has rather sought briefing regarding personal

11
     injury definitions and concepts which are wholly within the exclusive
     jurisdiction of the District Court.
12

13
                   Core proceedings defined in 28 USC § 157 include proceedings
14
     integral to restructuring of debtor-creditor rights, whether or not they
15
     involve questions of state law, and all proceedings in which right to relief is
16
     created by Title 11. All proceedings which are not integral and do not
17
     involve any cause of action created by Title 11 fall into the residual
18
     category of non-core proceedings. Windsor Communications Group,
19
     Inc. v. Grant (1985) 75 B.R. 713.
20

21
                   The fact that Mr. Henderson’s claims are non-core is further
22   emphasized by the ORS 31.230 law which requires a new original action
23   after the Bankruptcy court and adversarial proceedings have concluded.
24

25                 Indeed, the entire substance of the Stern v. Marshall (2011) 564
26   US 462, decision was that state court claims such as ORS 31.230 could
27   not be finally decided by Bankruptcy judges.
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 2
               In the remaining IIED claims (which are solely IIED claims) there
 3   is no Title 11 basis for relief. The only basis for relief arises under Oregon
 4   law ORS 31.230; it is a state claim, not amenable to final Bankruptcy
 5   adjudication.
 6

 7            Judge McKittrick’s jurisdiction over the parties to this case must
 8   completely conclude, before Oregon state jurisdiction accrues.
 9

10   ‘a. Judge McKittrick’s Usurption of District Court’s Statutory Power
11

12            28 USC § 157(b)(5) mandates the District Court to “order that
13   personal injury tort …….. shall be tried in the district court.”
14

15            There is no provision in the rules for the Bankruptcy judge to make
16   a personal injury recommendation regarding any matter. Therefore, the

17   intent of the rule must be that the District judge also be the one to make

18
     the personal injury decision.

19
              Here, Judge McKittrick’s inquiry as to whether ORS 31.270 and
20
     IIED claims are personal injury are ultra vires to his authority and beyond
21
     the core proceeding inquiry authority granted him under 28 USC § 157.
22

23
      5. Mr. Henderson’s Reliance on Economic Award is Now Erroneous
24

25            When Mr. Henderson wrote his brief, he had not yet received his
26   lavish attorney fees award. And so, he attempts to mask the very clear
27   personal injury nature of IIED behind the façade that his claims are mostly
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 2
     for economic loss. See for example (DE 887, p. 5, last paragraph):
 3
            The non-economic portion of Creditors’ WUCP claim, which is
 4          incidental to the primary claim for attorney fees, does not
 5          change the claim to a “personal injury tort claim.”

 6           Now, that the economic claims have been resolved, this line of
 7   reasoning, that economic claims trump personal injury claims, is no longer
 8   a relevant or viable factor in Henderson’s analysis.
 9
              Thus, examining all of Mr. Henderson’s reasoning at (DE 887, p.6)
10
     all of the conclusions based on the economic component supporting IIED
11
     claims fall away and leave IIED as the sole object of analysis.
12

13
             For example: In re Residential Capital, LLC, (2014) 536 B.R. 566,
14   the removal of the foreclosure from consideration leaves the IIED as the
15   sole claim. And, as Mr. Henderson aptly states (DE 887, p.6):
16

17          [I]f an IIED claim is the tail wagging the dog, section
            157(b)(5) should not require dislodging the claim from
18
            bankruptcy court resolution of a portion of a claim asserted
19          against a debtor. If the IIED claim is the gravamen of the
20          claim, section 157(b)(5) does not permit the bankruptcy court
            to try the claim absent consent.
21

22
            With resolution of attorneys’ fees and costs, IIED has become the
23
     sole gravamen of the claim, and, as Mr. Henderson emphatically states:
24
     “ § 157(b)(5) does not permit the Bankruptcy court to try the claim absent
25
     consent.”1
26   ‘1. As the court is very well aware, Peter Szanto has withdrawn from this
     Bankruptcy (DE 870) and does not consent to further proceedings in the
27   Bankruptcy court of any type or form. All proceedings are involuntary!!
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 2
        b. 9th Circuit Has REJECTED IIED Physical Trauma Requirements
 3

 4           Approximately ½ of Mr. Henderson’s brief relies on In re Gawker
 5   Media LLC, (2017) 571 B.R. 612. That reliance is wholly misguided and
 6   erroneous based on at least 4 distinct, unwaiable and powerful reasons.
 7

 8           1st, Gawker was grounded in the torts of defamation, false light and
 9   injurious falsehood. Those torts are compensable per se on proof of injury.

10   The ORS 31.230(1) metric requires merely demonstration of expenditures

11
     for defense of the original action.

12
              Specifically then, the IIED claim now stands alone, because there
13
     has already been an award for attorneys’ fees. The metric now becomes
14
     whether the trier of fact can actually differentiate between the $500,000
15
     already awarded for emotional distress and whether some additional
16
     emotional distress exists to justify a further award.
17

18
              2nd, Mr. Henderson at (DE 887, p.5) makes the conclusion without
19
     facts that:
20
                   Applying the narrow view here, it is readily apparent that
21
                   the WUCP claim does not fall within the definition of
22
                   “personal injury torts” under section 157.
23

24   How, why, and for what reason “it is readily apparent” is not explained –
25   it is merely conclusion without any basis in reality or logical justification.
26
              In fact, what Mr. Henderson seeks, unsuccessfully, is to equate the
27

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 2
     notion that a WUCP claim can only be sustained if there is some other
 3   type of harm. The reason Mr. Henderson cannot make the connection is
 4   because the ORS 31.230 statute limits itself to “expense and other
 5   consequences normally associated with defending against unfounded
 6   legal claims.”
 7

 8             Emotional distress as a consequence of defending against legal
 9   claims is unique to Judge McKittrick’s court!! Such $500,000 of judicial

10   beneficence has yet to happen in any other court in the United States and

11
     likely no where else on planet earth.

12
               As a preview of the balance of this analysis, it is important to
13
     remember that Mr. Henderson’s effort to convince himself that IIED is not
14
     personal injury will miraculously flip-flop to his own – 180’ - opposite view
15
     in a few paragraphs (DE 887, p.7, discussed infra).
16

17
              3rd, Gawker p.620, attempts to differentiate between emotional
18
     injury that is personal injury and emotional injury that is not personal injury
19
     and concludes (like Mr. Henderson without any basis in fact) that:
20
                   The ‘narrow view’ requires a trauma or bodily injury or
21
                   psychiatric impairment beyond mere shame or humiliation to
22                 meet the definition of "personal injury tort."

23
             Of course, Gawker, a New York City case cannot define how harsh,
24
     intense or what-sort of emotional injury will meet the threshold to be
25
     defined as personal injury. As matters of fact and law, Gawker can offer no
26
     support to anything in the present case on the subject of IIED, because
27
     IIED is never even addressed. Gawker’s claims of defamation, false light
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 2
     and injurious falsehood limit themselves to “emotional injury” and never
 3   addresses what is the actual requirement of the court’s (DE 877) order:
 4   emotional distress. (Remember, Judge McKittrick does not acknowledge
 5   functional equivalency and a request to brief IIED is not a functionally
 6   equivalency approval or request to brief “emotional injury.”)
 7

 8             Emotional injury as analyzed by Gawker fails to assist this court,
 9   because Gawker – not even once – does not address what is essential

10   issue in this case: whether there was cognizable infliction or trauma and

11
     whether or not such was intentional and distressing.

12
              4th, examining the key 9th Circuit case, the very best analysis of
13
     assessing “personal injury to an individual” can be much more clearly
14
     understood not to be restricted to bodily injury resulting in physical
15
     trauma to the exclusion of non-physical injuries. B.B. v. Grossman (In re
16   Grossman), (9th Circuit, 2015) 538 B.R. 34, 41 accord Adams v. Adams (In
17   re Adams), (2012) 478 B.R. 476, 485-88.
18

19            This correct assessment comports with the realization that the fact
20   of personal injury need not be physically visible. And in cases, as here, the
21   assessment of personal injury must be part of the claim’s analysis before
22   any final decision by the District court.

23

24
              The differentiation of psychological events as personal injury must

25
     not be made before the facts are known and understood. For that reason,
     this court is bound to defer to the safety of caution and allow the district
26
     court to asses matters which are likely personal injury within the meaning
27
     of 28 USC 157(b)(5).
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 2
              To do otherwise would deprive Peter Szanto of further essential
 3   and fundamental Constitutional rights to fair and impartial adjudication!!
 4

 5        6. ORS 31.270 is Limited to Normal Consequences of Defense
 6

 7            The limitation to recovery under Oregon’s WUCP law is limited by
 8   the statute itself to “the expense and other consequences normally
 9   associated with defending against unfounded legal claims.”

10

11
               Mr. Henderson confirms this (DE 887, p. 7):

12
            Creditors have not found any case law standing for the
13
            proposition that a claim satisfying the IIED elements set
14          forth above cannot be pursued if the wrongful conduct stems

15          from judicial proceedings. Instead, Oregon case law contains
            examples of cases in which IIED claims are based on conduct
16
            that included judicial proceedings.
17

18
              Thereafter, Mr. Henderson makes incorrect representations about
19
     the Checkley v. Boyd, (2000) 170 Or. App. 721 action. The case was not
20

21
     reversed in part based on lack of merit, but rather allowed further to

22   proceed in the trial court (ibid 744), so as fully to try the IIED claims.
23

24
              After remand the Checkley dispute continued. In Checkley v. Boyd,
25

26   (2005) 198 Or. App. 110, the wrongful use of civil process claims were

27   dismissed, but the IIED claims were remanded for yet further adjudication.
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 2
              Based on the decision in Checkley, the correct analysis of the
 3
     manner in which this case should proceed is precisely as per statute:
 4

 5

 6                   1) final conclusion of the Bankruptcy and / or adversarial
 7
                        proceeding.
 8
                     2) commencement of a new original action in a forum of
 9

10                      general jurisdiction which is not constrained by limitations

11                      to adjudicate personal injury claims.
12

13
                                           7. Conclusion
14

15
                   The court must prioritize the various aspects of this case with
16
     which the law requires compliance:
17

18
                    a) final adjudication of the underlying proceeding which
19
                       allegedly used process wrongfully
20
                    b) a new original proceeding in a court of general jurisdiction
21
                    c) determination of personal injury as causing emotional
22                     distress under the ORS 31.230 law.
23

24

25           Respectfully,
26

27                    Dated 4/2/2020     /s/ signed electronically Peter Szanto

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 2

 3
     PROOF of SERVICE
 4

 5   My name is Maquisha Reynolds, I am over 21 years of age and not a party to
 6   the within action. My business address is PO Box 14894, Irvine CA 92623
 7

 8       On the date indicated below, I personally served the within:
                                 RESPONSE BRIEF
 9
     on the following by placing in postage pre-paid envelopes of the within
10
     document and mailing same:
11
     a. Internal Revenue Service, PO Box 7346, Philadelphia PA 19101
12
     b. First Service Residential, 15241 Laguna Canyon Rd, Irvine CA 92618
13   c. JPMorgan Chase Bank, represented by:
14                  Gadi Shahak c/o Shapiro & Sutherland
15                  1499 SE Tech Center Place, Suite 255 , Vancouver, WA 98683

16   d. Bank of America, c/o McCarthy & Holthus 920 SW 3 Av., Portland OR 97204
                                                                 rd




     e. Oregon Department of Revenue, 955 Center St., Salem OR 97301
17
     f. Chapter 7 Trustee, C. Amborn, PO Box 580, Medford OR 97502
18
     g. Susan Szanto - 11 Shore Pine, Newport Beach CA 92657
19
     h. Office of the US Trustee, 620 SW Main Street, Suite 213, Portland, OR 97205
20   by mailing copies to the above parties via 1st class mail, postage prepaid, or by
21   e-mail.
22   ‘i. Danny Ong, 9 Straits View #06-07, Marina One West Tower Singapore 018937
23
               I declare under penalty of perjury under the laws of the United States
24
     that the foregoing is true and correct. Signed at Irvine CA.
25
            Dated 4/2/ 2020     /s/ signed electronically M. Reynolds
26

27

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